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Stephen L. Nourse (ASB 1\10. 0602003)
Jas<`)n M. Kettrick (ASB No. 1206059)

Carney Badley Spellman, P.S.
701 Fifth Avenue, Suite 3600

1 Seattle, WA 98104

Phone: (206) 622-8020

'Facsimile: (206) 467-8215

nOUI`SCf@CaI`H€YlaW.COm

kettrick@camevlaw.com
Attorneys for Plaintiff MKB Constructors

Timothy Bowman (ASB No. 0905012)
Delaney Wiles, Inc.

1007 W. Third Avenue, Suite 400
Anchorage, AK 99501

Phone: (907) 279-35811

Facsimile: (907) 277-1331

twb@delaneywiles.com
Attorneys for Plaintiff MKB Constrqctors

UNITED STATES DISTRICT COURT
DISTRICT OF ALASKA AT ANCHORAGE

UNITED STATES OF AMERICA, for the
use of MKB CONSTRUCTORS, a
Washington partnership,

Plaintiff,
vs.

COLASKA, INC. dba QUALITY
ASPHALT PAVING, an Alaska .
Corporation; LIBERTY MUTUAL
INSURANCE COMPANY OF
MARYLAND, a Maryland Corporation
(Bond No. 014046569.8911350); and
ZURICH AMERICAN INSURANCE, a
New York Corporation (Bond Nd.

014046569/.8911350),

Defendants.

 

 

 

 

STIPULATION FOR DISMISSAL
(3:10-cv-00274-HRH) - 1

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NO. 3 : 10-cV-00274-HRH

STIPULATION FOR DISMISSAL

701 Fifth Avenue, Suite 3600
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I. STIPULATION
The parties herein, acting by and through their undersigned attomeys, hereby stipulate,
pursuant to Rule 41(a)(2) Federal Rules of Civil Procedure, that the above-entitled action and
each and every portion thereof has been fillly settled and compromised and the same shall be

dismissed With prejudice and Without costs or attorneys’ fees to any party.

DATED 11118~30"‘ day ofNovember, 2012.

By s/ Jason M. Kettrick By s/ Timothy W. Bowman
Stephen L. Nourse, Alaska Bar No. 0602003 Timothy W. Bowman, Alaska Bar No. 0905012
Jason M. Kettrick, Alaska Bar No. 1206059 Delaney Wiles, Inc.

CARNEY BADLEY SPELLMAN, P.S. 1007 W. Third Avenue, Suite 400

701 Fifth Avenue, Suite 3600 Anchorage, AK 99501

Seattle, WA 98104 Phone: (907) 279-3581

Phone: (206) 622-8020 Facsimile: (907) 277-1331

Facsimile: (206) 467-8215 twb@delaneywiles.com
nourse@carneylaw.com Attorneys for Plaintiff MKB Constructors

kettrick@cameylaw.com
Attomeys for Plaintiff MKB Constructors

By s/ Trae,qer Machetanz

Traeger Machetanz, Alaska Bar No. 841 1 127
Oles Morrison Rinker & Baker LLP

745 W. 4th Avenue, suite 502

Anchorage, AK 99501

Phone: (907) 258-0106

Facsimile: (907) 25 8-5519
machetanz@oles.com

Attorneys for Defendant Colaska, Inc.

C A R N E Y 701 Fiah Avenue, suite 3600

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CERTIFICATE OF SERVICE

 

I hereby certify under penalty of perjury under the laws of the United States and the
State of Washington that on November 30, 2012, I electronically filed the foregoing With the
Clerk of the Court using the CM/ECF system Which Will send notification of such filing to
counsel for the defendants, and l hereby certify that 1 have mailed by United States Postal
Service, Postage Prepaid/ABC Legal Messenger/ Service, Inc./Facsimile to the following non
CM/ECF participants: n/a .

s/ Jason M. Kettrick
Jason M. Kettrick, Alaska Bar No. 1206059
Attomey for Plaintiff MKB Constructors
CARNEY BADLEY SPELLMAN, P.S.
701 Fifth Avenue, Suite 3600
Seattle, WA 98104
Phone: (206) 622-8020
Facsimile: (206) 467-8215
kettrick@carnevlaw.com

C AR N E Y 701 Fii>ih Avenue, suite 3600

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OLES MORR|SON M°"

     

Dml. LLP

Sam E. Baker, Jr.
E-mail: baker@oles.com.
Direct Phone: 206-467-7467

November 26, 2012
Stephen L. Nourse, Esq.
Carney Bad|ey Spel|man, P.S.
701 5"‘ Avenue, Ste. 3600
Seatt|e, WA 98104-7010
Re: Colaska/QAP v. MKB Construction, et al.

Superior Court of Alaska, Third Judicia| District at Anchorage

Case No. 3AN-10-12761Cl

and

United States of America, for the use of MKB Constructors v. Co|aska, |nc., et

Case No. 3:10-cv-00274-HRH
Dear Steve:

As discussed, this will confirm that consistent with the Sett|ement Agreement dated
November 6. 2012 between lCRC, QAP and MKB, the State and Federa| lawsuits brought by
QAP and MKB, respectively, to preserve claims against their respective bonds will be dismissed
with prejudice and the bonds fully discharged

However, it is further agreed that both dismissals With prejudice will not be considered as
in any way modifying the terms of the November 6, 2012 Settlement Agreement copy attached

701 PiKE Siixeer, Suite 1700 - SEATTL€, WA 98101 - 206.623.3427 ' FA)<: 206.682.6234 oLES°c°M

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Stephen L. Nourse, Esq._
November 26, 2012
Page 2

Please signify your approval to this agreement and we will attach this letter to the
Stipu|ation and Order to be filed in the state court action.
Very truly yoursl
OLES MORR|SON RiNKER & BAKER LLP
Sam E. Bakerl Jr.
SEB/p|

4840-8441-2177. v. 1

cc: QAP
David J. Schmid, Esq.

APPROVAL AND ACCEPTANCE:

| affirm that l have the authority to approve the above agreement on behalf of the MKB
Constructors and that MKB agrees to be bound by the terms and conditions outlined above.

By: ,)@4 /%W(
Step nL.Nour'se

Counse| for MKB Constructors

Dated : ////z’é///Z"

 

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Case 3:10-cv-00274-HRH Document 29 Filed 11/30/12 Page 5 of 8

SE'I"I`LEMENT AGREEMENT

'i-'his Sett|ement Agreement (the “Ag_reement") is made dated this 6"’ day of November, 2012, by and
between integrated Concepts and Researeh Corperation (“ICRC”), a Distrlet of Columbie corporation which
is a subsidiary of VSE Corporation, Colaelea, Inc., an Alaska corporation doing business as _Qua|ity Asphalt
Peving (“QAP”), and MKB Constructors (*‘MKB") a Joint Venture comprised of two Washington state
corporations. l.e., Derian, lnc., and R. Sc'ott Constructors, tnc.; hereinafter collectively referred to as the

\FPart|cs'"
The Perties stipulate and acknowledge as follows:

A. The PONMOA is the owner of the Port of Anchorage intermodal Expansion`Pro_]ect (the
"PIEP").' The FIEP is a major transportation infractrncture construction project. _

B. The POA/MOA has partnered with 'i`he United States Dcpaitment ot"l`ransportation Maritime
Administration (“Mar'Ad”) to plan, develop', and execute the PIEP. MarAd has provided to the POA/MOA
and administered on its behalf substantial funding for the PlEP pursuant to a 2003 FOA/MOA-MARAD
Memorandum of Understanding, a November ll, 20|1 Memorandum of Agreement, and other agreements
(the “'POA/MOA-MARAD Agreements").

C. lCRC has sponsored the QAP and MKB claims (the “Cla.irns") against MarAd in ICRC v.
MARA,D (CBCA No. 2645), hereinafter referred to as the “ICRC/QAP/MKB v. MarAd~thigatlon”, asserted
under the terms of the QAP Subcontract. These actual or potential ciaims, whether arising in contract, tort, or
otherwise, and whether known or unknown, accrued or un-eccrued. are hereinafter referred to as “Clairns".

D. QAP iind iCRC entered into a confidential Subcontrsct Settlement Agreement (“Subcontract
Settlemcnt Agreement”) and iCRC and MKB entered into a confidential Second Tier Subcontiactor
Settlemcnt Agreement (“Second Tier Subcontr'act Settlement Agreement"), setting forth the terms and
conditions for payments from lCRC to QAP and MKB,

E. The_ Partles and MarAd arc currently negotiating a settlement of the Clairns and anticipate
signing a Rclease of Claims Agreement (“Rc|me Agreement") in the near future.

WHEREFORE, THE PARTIES AGREE AS FOLLOWS:

i. Releasa of Cialrns. S`ubject to the Subcontract Settiement Agreement and upon payment as
set forth therein, the Second 'I'ier Subcontract Settlement Agreement and upon payment as set forth therein,
and MarAd Settlement side letters issued by VSE Corporation to QAP and MKB on or _about October 9, 20l2,
the.Patties agree to release one another from any and ali claims, known or unknown, asserted or unasserted,
seemed or unaccrued, whether sounding in contract or tort, including but not limited to the Claim$ and any
claim or liability for retainage, indemnification, defense or contribution that arises, could arlse, or otherwise
relates in any way to work performed by one or more of the Panles on the PIEP. Notwlihstancling, the Partles
acknowledge and agree that if any claims are brought by any third party pertaining to the PlEP project, ICRC.
QAP and MKB will not be precluded from asserting any and all rights or defenses they may have against any
third party, MarAd, or_ against each other should any third party bring such a claim or lawsuit against any
combination oftho Partice; provided, however, that in any such lawsuit or legal proceeding the Parties shall be
prohibited from asserting any claims and recovering any damages from one another, all such claims and
damages having been released under this Agreement-and the Release Agreement in any legal proceedings
brought by any third party, this Agreement shall be discoverable and admissible

2. No Sponsdrshlp of Clalms. 'l"he Parties specifically agree that they will not accept, sponsor,
cooperate or participate in any claim, or ln any other manner or proceeding that is proposed or brought by any

third party, includlng, but not limited to, any governmental agenoy, against iCRC, QAP or MKB related to or
arising, in any way, out ofthe PIEP, including a claim for retainage.~

3. Enforeement. The Parties agree that the terms cf this Agreement shall be subject to
enforcement in the case of any actual or alleged breach thereof. in the Clvillan Board of Contraet Appeals.

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Each Party hereby consents to thejurlsdiction of such tribunal for the purposes of enforcing or interpreting thc
Agreement.- The prevailing Party or Parties in any such enforcement action will be entitled to an award of
reasonable attemeys' fees and eosts. The U.S. District Court of Alaska shall be the venue with regard to the

QAP/MKB proceeding.

4. Further Actions, The Partles agree to execute any further documents, and to take any
additional action required to implement the terms of this Agreement, and to without limitation assure an end to
current and future oialms, released claims and litigation between the Parties related to, or arising out of, the
matters and events that are the subject matter of the iCRC/QAP/MKB v. MARAD Litigation (CBCA 2645 and
CBCA 2850). The Parties further agree to immediately dismiss all litigation involving sureties and allow for
the immediate return cf ali surety bonds, including but not limited to, performance and payment bonds, issued
by the sureties of QAP and MKB pertaining to the PIEP project '

5. No Admission of Liabillty. The Partles agree that neither the making of this Agreement nor
anything contained in this Agreement shall be construed or considered to be an admission of llabllity,
wrongdoing responsibility or misconduct by any of the Parties. Rather, this Agreement is merely a negotiated
resolution between the Partics.

6. Binding Et‘fect. This Agreement, upon ratification, is binding upon, and shall inure to the
benefit of, the Partiea hereto and their respective principals, agents, empioyees, representativee, omcers,
directors, subsidiaries, assigns, heirs, administrators executors, attorneys, afl'rliates, predecessors, successors
in interest, and representatives

7~. 'Expeneea. Each Party shall be responsible for ita own expenses, ecsts, fees, and anomey fees
relating to matters resolved ln this Agreement.

8. Severability. if any portion of this Agreement is held or determined to be invalid or
unenforceable, the remaining provisions shall continue in force and effect as if this Agreement had been

executed with the invalid portion eliminated

9. Entlre Agreement This Agreement contains the entire agreement between the Parties and the
terms of this Agreement arc contractual and not a mere reoital. '

l0. Execution by Couatcrpart. This Agreement may be executed in counterparts, each of which
constitutes an original _and all oi' which constitute thc same Agreement The parties agree that facsimile or pdf
signatures shall have full force and effectof original signatures

il. Voluntary Agreement. The undersigned, on behalf of the Partics, declare and represent that
they fully understand the terms of this Agreement and voluntarily enter into the same.

lZ. Signaturc Authorit'y. The individual signing this Agreement on behalf of each party
represents that they have the authority to respectively bind that party concerning this Agreement, the CBCA
appeals, and the contracts underlying work at the PIBP. Eac|r party further represents that person has been
independently represented by counsel of its own choice and that it has made a full investigation into the facts
giving rise to this Agreement This Agreement shall be construed neutrally in accordance with its plain
meaning\ rather than in favor of or against any party, inasmuch as all parties have been represented by
independent counsel. each of whom has had a full opportunity to be heard.

l3. Claims Not Assigned. The Parties warrant they have not assigned or transferred their claims
to any other party in any way. '

lN WHNESS WHEREOF, the Parties have executed this Scttlement Agreement on the date set forth
above:

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Case 3:1O-cV-00274-HRH Document 29 Filed 11/30/12 Page 7 of 8

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By: By: ,/" .
Caerilliams,President Anthon. . mino,-ll,Corporate Sccretary

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By:
Mark Jensen, `-
Der|an. lnc.

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R. Scott Constructors, Inc.

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